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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


  LOUIS J. DECOSMO
                                  Plaintiff,
                       v.                              No. 22-cv-7509
 NEW YORK PRESBYTERIAN
 HOSPITAL                                              DECLARATION OF
                                                       ALISON R. BENEDON

                                  Defendant.


              Alison R. Benedon, pursuant to 28 U.S.C. § 1746, declares as follows:

       1.     I am an associate in the law firm Paul, Weiss, Rifkind, Wharton &

 Garrison LLP, counsel to Defendant The New York Presbyterian Hospital s/h/a

 New York Presbyterian Hospital (“NYPH”) in the above-captioned action. I

 respectfully submit this Declaration in support of Defendant’s motion to dismiss

 Plaintiff’s Complaint.

       2.     Attached as Exhibit A is a true and correct copy of an August 30,

 2021 email from NYPH to the Plaintiff referenced in paragraph 32 of the

 Complaint.

       3.     Attached as Exhibit B is a true and correct copy of the telecommuting

 agreement referenced in paragraph 36 of the Complaint.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

 foregoing is true and correct.

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 Executed on February 27, 2023 in New York, New York.




                                                             /s/ Alison R. Benedon
                                                               Alison R. Benedon




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